Case 1:02-cV-01202-.]DB-tmp Document 49 Filed 06/09/05 Page 1 of 4 Page|D 70

Fr.~ ,'
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CURTIS GREEN, ) Cl EH§=»'. , l_§S rl$`l T. Cl(')
) W-- GF fm i.a;:.rpnrs`
Plaintiff )
)
v. ) No. 1:02-01202 _ B-P
)
CORRECTIONS CORPORATION )
OF AMERICA, et al., )
)
Defendants )

 

AGREED ORDER HOLDING DEADL]NES IN ABEYANCE

 

lt appears to the Satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005. This matter being
agreeable with the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Conference on June 24, 2005.

Dated: this l day of 313 V\& , 2005.

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~J-BAaH-E-b-BREEN- ~71'4 m. Pl\ q m

UNITED STATES 'B‘}S‘F-RI'€‘I-`-JUDGE

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Tiils document entered on the docket Sheet in compliance
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Case 1:02-cV-01202-.]DB-tmp Document 49 Filed 06/09/05 Page 2 of 4 Page|D 71

APPROVED FOR ENTRY:

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CERTIFICATE OF SERVICE

 

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & DillardJ P.C., P.O. Box 1126,
Knoxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,

columbia sc 29201 on June B/K , 2005.

PENTECOST, GLENN & RUDD, PLLC

By:

%WMZM 0 255/rd

J ames I. Pentecost (1§01 1640)
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Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 1:02-CV-01202 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

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Case 1:02-cV-01202-.]DB-tmp Document 49 Filed 06/09/05 Page 4 of 4 Page|D 73

Honorable .1. Breen
US DISTRICT COURT

